Case 2:18-cv-00530-MSD-RJK Document 310-3 Filed 04/12/21 Page 1 of 9 PageID# 6739




                         EXHIBIT 6
Case 2:18-cv-00530-MSD-RJK Document 310-3 Filed 04/12/21 Page 2 of 9 PageID# 6740
Case 2:18-cv-00530-MSD-RJK Document 310-3 Filed 04/12/21 Page 3 of 9 PageID# 6741
Case 2:18-cv-00530-MSD-RJK Document 310-3 Filed 04/12/21 Page 4 of 9 PageID# 6742
Case 2:18-cv-00530-MSD-RJK Document 310-3 Filed 04/12/21 Page 5 of 9 PageID# 6743
Case 2:18-cv-00530-MSD-RJK Document 310-3 Filed 04/12/21 Page 6 of 9 PageID# 6744
Case 2:18-cv-00530-MSD-RJK Document 310-3 Filed 04/12/21 Page 7 of 9 PageID# 6745
Case 2:18-cv-00530-MSD-RJK Document 310-3 Filed 04/12/21 Page 8 of 9 PageID# 6746
Case 2:18-cv-00530-MSD-RJK Document 310-3 Filed 04/12/21 Page 9 of 9 PageID# 6747
